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 8                      UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
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11   REY CARTAS VELASQUEZ, ET AL.,          No. 2:01-cv-00246-MCE-DAD
12             Plaintiffs,
13        v.                                RELATED CASE ORDER
14   MOHAMMED KHAN, AKA MOHAMMED
     NAWAZ KHAN, DBA KHAN LABOR
15   CONTRACTOR, ET AL.,
16             Defendants.
     _____________________________/
17
     UNITED STATES OF AMERICA,              No. 2:12-cr-00180-MCE
18
               Plaintiff,
19
          v.
20
     MOHAMMAD NAWAZ KHAN, ET AL.,
21
               Defendants.
22   _____________________________/
23   UNITED STATES OF AMERICA,              No. 2:12-cr-00300-MCE
24             Plaintiff,
25        v.
26   RYAN HERBERT SMITH, ET AL.,
27             Defendants.
     ___________________________/
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 1   UNITED STATES OF AMERICA,               No. 2:13-cr-00006-MCE
 2              Plaintiff,
 3         v.
 4   JIT KAUR, ET AL.
 5             Defendants.
     ____________________________/
 6
     UNITED STATES OF AMERICA,               No. 2:13-cr-00275-GEB
 7
                Plaintiff,
 8
           v.
 9
     GURCHET SANDHU, ET AL.
10
               Defendants.
11   ____________________________/
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14         The Court has received the Notice of Related Case filed on
15   December 5, 2013.
16         Examination of the above-entitled civil and criminal actions
17   reveals that these actions are related within the meaning of
18   Local Rule 123(a) (E.D. Cal. 1997).       The actions involve many of
19   the same defendants and are based on the same or similar claims,
20   the same property transaction or event, similar questions of fact
21   and the same questions of law, and would therefore entail a
22   substantial duplication of labor if heard by different judges.
23   Accordingly, the assignment of the matters to the same judge is
24   likely to effect a substantial savings of judicial effort and is
25   also likely to be convenient for the parties.
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 1        The parties should be aware that relating the cases under
 2   Local Rule 123 merely has the result that both actions are
 3   assigned to the same judge; no consolidation of the action is
 4   effected.   Under the regular practice of this court, related
 5   cases are generally assigned to the district judge and magistrate
 6   judge to whom the first filed action was assigned.
 7        IT IS THEREFORE ORDERED that the actions denominated
 8   2:13-cr-00275-GEB, United States of America v. Gurchet Sandhu, et
 9   al., is reassigned to Chief Judge Morrison C. England, Jr., for
10   all further proceedings, and any dates currently set in this
11   reassigned case only are hereby VACATED.       Henceforth, the caption
12   on documents filed in the reassigned cases shall be shown as
13   2:13-cr-00275-MCE.
14        IT IS FURTHER ORDERED that the Clerk of the Court make
15   appropriate adjustment in the assignment of criminal cases to
16   compensate for this reassignment.
17        IT IS SO ORDERED.
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20          DATED: December 17, 2013

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